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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

RALPH NESBITT,                                 *
                                               *
                Plaintiff,                     *
                                               *
                v.                             *    Civil Action No. 21-11071-IT
                                               *
STEPHEN KENNEDY, Acting                        *
Superintendent,                                *
                                               *
                Defendant.                     *
                                               *

                                    ORDER OF DISMISSAL

                                        December 2, 2021

TALWANI, D.J.

        The court’s November 5, 2021 Order [#8] found that plaintiff Ralph Nesbitt, who is

incarcerated, had failed to show that he was unable to prepay the entire $402 filing fee. The court

ordered Plaintiff to pay the $402 filing fee by November 26, 2021, and stated that failure to

comply with the Order would result in dismissal of the action without prejudice.

        To date, Plaintiff has not responded to the court’s Order and the time to do so has

expired.

        Accordingly, it is hereby ordered that this action is DISMISSED without prejudice for

failure to pay the filing fee.

        IT IS SO ORDERED.

                                                     /s/ Indira Talwani
                                                     United States District Judge
